 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 1 of 18 PageID# 112



               IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division


RANDALL TODD ROYER,

              Petitioner,


       v.                                         1:14cv801    (LMB/IDD)
                                                  l:03cr296    (LMB)
ERIC   D.   WILSON,


              Respondent

                              MEMORANDUM   OPINION


       Randall Todd Royer ("Royer" or ''petitioner") , a federal

inmate housed in the Eastern District of Virginia and proceeding

pro se, has filed a Petition For Writ Of Habeas Corpus pursuant

to 28 U.S.C.     § 2241,    in which he challenges his conviction under

18   U.S.C.   § 924(c)   as invalid because the Fourth Circuit has

recently narrowed its interpretation of the ''crime of violence"

predicate for convictions under § 924 (c) .          Respondent has filed

an opposition to Royer's petition, and Royer's time to reply to

respondent's opposition has expired.          Therefore,      this matter is

ripe for adjudication.         For the reasons that follow,       Royer's

petition for habeas corpus will be dismissed for lack of

jurisdiction.

                               I.   B7\CKGR0UND


       The following material facts are uncontroverted.                On June

25, 2003, a grand jury returned an indictment charging Royer and

ten other individuals with 41 counts, including conspiracy under
    Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 2 of 18 PageID# 113




18 U.S.C.      § 371, acquisition of a firearm with intent to engage

in a crime of violence,           and violations of the Neutrality Act,        18

U.S.C.      § 960,   arising out of their preparations for violent

jihad overseas.        Mem. Op. of Feb. 15, 2012, at 2.1

        In August and September of 2003,            four of the

co-conspirators,        Donald Thomas Surratt II, Yong Ki Kwon,

Muhammed Aatique,       and Khwaja Mahmood Hasan,         entered into plea

agreements with the government and pleaded guilty to various

charges of the indictment.            Id.   at 3.    As a result of new

information obtained from these four co-conspirators,               who were

cooperating with the government pursuant to their plea

agreements, the government obtained a 32-count superseding

indictment against Royer and the remaining defendants on

September 25, 2003.         Id.     Fourteen of those counts charged Royer

with:       various conspiracies, including a conspiracy to violate

the Neutrality Act, to engage in armed hostility against the

United States under 18        U.S.C.    § 2390,     and to contribute material

support to the Taliban,           al Qaeda,   and LET; multiple firearm

offenses in violation of 18 U.S.C. § 924; and aiding and

abetting and substantive violations of the Neutrality Act.                Id.




1 The facts in this section are based on the fuller factual
background provided in the Memorandum Opinion of February 15,
2012,    which dismissed Royer's motion to vacate under 28 U.S.C
§   2255.
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 3 of 18 PageID# 114



       On January 16, 2004,       Royer,   who was represented by counsel,

pleaded guilty to a two-count criminal information under a

written plea agreement requiring his cooperation with the

government in its prosecution of the remaining defendants.                Id.

Count One of the criminal information, the only count at issue

in this petition,         charged that Royer:

       [d]id unlawfully and knowingly aid and abet the use
       and discharge of a semi-automatic pistol by Masoud
       Khan, Yong Kwon, Mohammad Aatique, and Khwaja Hasan in
       Pakistan during, in relation to, and in furtherance of
            . the conspiracy [to commit a crime of violence]
       charged in Count One of the Indictment . . .

in violation of 18 U.S.C. 924(c).            Id_^ at 4.

       Count One of the superseding indictment,            to which Count One

of the criminal information refers, charged a conspiracy to

commit five offenses against the United States and alleged two

separate objects of that conspiracy.            Id.     Royer, however,

limited his admission of guilt to the first object of the

conspiracy,     id. at 14 n.7,     which was:    to prepare for and take

part in military expeditions to be carried on from the United

States against the territory and dominion of foreign states,

districts,     and peoples with whom the United States was at peace,

in violation of the Neutrality Act, 18 U.S.C. § 960, id. at 4.2

The penalties to which Royer was exposed under Count One of the


2 The second alleged object of the conspiracy was to enlist and
engage with intent to serve in armed hostility against the
United States,       in violation of 18 U.S.C.        § 2390.   Mem. Op. of
Feb.   15,   2012,   at   4.
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 4 of 18 PageID# 115



criminal information included a mandatory minimum sentence of

ten years to a maximum of life imprisonment.           Id.

       Count Two of the criminal information charged Royer with

aiding and abetting the carrying of an explosive during the

commission of a felony that may be prosecuted in a U.S. court,

in violation of 18 U.S.C. §§ 2, 844(h) (2), and 3238.           Id^_ at 8

n.5.    That offense carried, among other penalties, a mandatory

term of incarceration of ten years,          which had to run consecutive

to the sentence     on Count One.     Id.


       Based on the Statement of Facts attached to the plea

agreement and Royer's representations during the plea colloquy,

the Court accepted his guilty pleas.           Id. at 4, 8.   On April 9,

2004, Royer was sentenced to 20 years imprisonment, consisting

of 120 months on Count One and 120 months on Count Two, to be

served consecutively,     as well as three years of supervised

release on each count.         Id. at 8.    He did not appeal either his

conviction   or   sentence.     Id.


       On March 16,   2009,    Royer filed a motion under 28 U.S.C.

§ 2255 to vacate only the conviction as          to Count One based on a

gateway claim of actual innocence.          The motion was dismissed as

untimely; however,     the Court also found that even if the motion

had not been untimely,        it would have failed on the merits

because Royer was unable to establish his actual innocence of

the offense to which he pleaded guilty and also could not
  Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 5 of 18 PageID# 116



establish his actual innocence of the other charges that were

dropped in consideration of his guilty pleas.               Id. at 18-19

(citing Bousley v. United States,        523 U.S.    614,    624   (1998);

Schlup v. Delo, 513 U.S. 298, 327-28 (1995)).               Royer appealed

the dismissal of his § 2255 motion on April 16,             2012, but then

voluntarily dismissed the appeal on June 5,           2012.

                       II.    STANDARD OF   REVIEW


      Section 2255 is the primary means by which a federal

prisoner may collaterally attack a conviction and sentence.                  See

Rice v. Rivera, 617 F.3d 802, 807 (4th Cir. 2010)              (per curiam).

"[T]hose convicted in federal court are required to bring

collateral attacks challenging the validity of their judgment

and sentence by filing a motion to vacate sentence pursuant to

[§ 2255]."    IcL at 805 (quoting In re Vial, 115 F.3d 1192, 1194

(4th Cir. 1997)   (en banc)).     A prisoner may only bring a

collateral attack under § 22413 if § 2255 is "inadequate or
ineffective to test the legality of [his] detention."                In re

Jones, 226 F.3d 328, 332-33 (4th Cir. 2000) (quoting 28 U.S.C. §

2255(e)).    Under limited circumstances,      the "inadequate or

ineffective" clause,    known as the "savings clause," permits a


 In   Boumediene v.   Bush,   the U.S.   Supreme Court struck down
paragraph (e) of 28 U.S.C. § 2241 as an unconstitutional
suspension of the writ of habeas corpus.  553 U.S. 723, 732-33
(2008) (holding that aliens designated as enemy combatants and
detained at the U.S. Naval Station at Guantanamo Bay, Cuba, have
the constitutional privilege of habeas corpus).               The remainder
of § 2241, however, remains intact.
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 6 of 18 PageID# 117



federal prisoner to bring a second or successive habeas petition

pursuant to § 2241, despite the limitations imposed by § 2255.

See    id.     at    333.


        In considering whether the savings clause permits a

petitioner to bring a second or successive petition pursuant to

§ 2241,        the Fourth Circuit has developed a three-pronged test.

Section 2255 is deemed inadequate or ineffective,                         and § 2241 may

therefore be used to attack a federal conviction,                         when:

         (1)    at    the time of the conviction,            settled law of this
        circuit or the Supreme Court established the                         legality
        of     the     conviction;       (2)    subsequent    to    the   prisoner's
        direct        appeal    and   first    § 2255 motion,       the   substantive
        law  changed  such  that the  conduct  of  which the
        prisoner was convicted is deemed not to be criminal;
        and (3) the prisoner cannot satisfy the gatekeeping
        provisions of § 2255 because the new rule is not one
        of     constitutional         law.


Id. at 333-34.               Section 2255 will not be considered inadequate

or ineffective simply because a petitioner is denied relief

under that provision or because a petitioner is barred from

filing a successive § 2255 motion.                    See San-Miguel v. Dove, 291

F.3d 257, 261 n.2              (4th Cir. 2002)      (citing In re Vial,        115 F.3d

at    1194 n.5);        In re Jones,         226 F.3d at 333;      see also Tolliver v.

Dobre,       211 F.3d 876, 878          (5th Cir. 2000)      (per curiam)      ("We join

our sister circuits that have held that a prior unsuccessful

§ 2255 motion,              or the inability to meet      . . . [the]        'second or

successive'          requirement [of the Antiterrorism and Effective

Death Penalty Act of 1996 ("AEDPA"), Pub. L. No. 104-132, § 105,
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 7 of 18 PageID# 118



110 Stat.     1214,   1220],   does not make § 2255 inadequate or

ineffective.").

                               III.         DISCUSSION


      Royer argues that a recent change in substantive,                         Fourth

Circuit law has rendered the conduct underlying his conviction

on Count One non-criminal.                  Pet. Writ of Habeas Corpus ("Pet."

1.   Count One charged Royer with violating 18 U.S.C.                        § 924(c),

which states in pertinent part:

      (1) (A) Except to the                 extent that a greater minimum
      sentence is otherwise                 provided by this subsection or
     by any other provision of law,                     any person who,       during
     and     in    relation     to      any     crime     of    violence
      (including a crime of violence . . . that provides for
     an enhanced punishment if committed by the use of a
     deadly or dangerous weapon or device) for which the
     person may be prosecuted in a court of the United
     States,  uses  or  carries a   firearm, or  who, in
     furtherance of any such crime, possesses a firearm,
     shall, in addition to the punishment provided for such
     crime    of   violence    .   .    .—


     (i) be sentenced to a term of imprisonment of not less
     than 5 years;

      (ii)    if   the   firearm       is    brandished,       be   sentenced   to   a
     term of imprisonment of not less than 7 years; and

     (iii) if the firearm is discharged, be sentenced to                             a
     term of imprisonment of not less than 10 years.




      (3)    For purposes of       this subsection the term "crime of
     violence" means an offense that                is a       felony and—

     (A)  has as an element    the use,  attempted use,  or
     threatened use of physical force against the person or
     property of another, or
     Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 8 of 18 PageID# 119



        (B) that by its nature, involves a substantial risk
        that physical force against the person or property of
        another may be used in the course of committing the
        offense.


18    U.S.C.   § 924 (c) .

        Specifically,        Royer contends that the methodology for

determining whether a predicate offense is a "crime of violence"

for purposes of § 924 (c)             has changed such that a violation of

the Neutrality Act,           18 U.S.C.       § 960,   no longer constitutes a

crime of violence.            Pet.    1-2.     Royer further argues that "§ 2241

is the appropriate vehicle for this claim because the change in

law occurred subsequent to the filing of his § 2255 motion,

depriving him of the chance to raise the issue in his first

collateral attack" and because he meets the three-pronged Jones

test.      Pet.   2,   15.

        Conversely, the government argues that although Royer may

satisfy the third prong of the Jones test, he cannot satisfy the

first two prongs because the law was not settled at the time of

Royer's conviction and because the law governing whether a

violation of the Neutrality Act constitutes a crime of violence

for purposes of § 924(c)             has not changed.        Resp.    to Pet. Writ of

Habeas Corpus ("Resp.")              8, 13.     Alternatively,    the government

asserts that Royer cannot obtain relief because he cannot show

that he is actually innocent of the charges that were dismissed

in consideration of his guilty pleas.                   Resp.   15.
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 9 of 18 PageID# 120



        Because Royer has not satisfied the three-pronged Jones

test,    his claim falls outside the § 2255 savings clause and he

may not proceed under § 2241.           Accordingly, his petition under

§ 2241 must be dismissed for lack of jurisdiction.               See Rice,

617   F.3d at 807.   Even if Royer could proceed under § 2241,               his

petition would still fail because Royer has offered no reason

why the Court should reconsider its previous finding that he is

not actually innocent of the more serious, dismissed counts of

the superseding indictment,          as is required under Bousley v.

United States,    523 U.S.    614,    624    (1998).

          A. First Prong

        The first prong of the Jones test addresses whether,               "at

the time of the conviction,          settled law of this circuit or the

Supreme Court established the legality of the conviction."                   In

re Jones,    226 F.3d at 333-34.        The government argues that Royer

cannot satisfy this prong because in 2004 when Royer was

convicted,    there was    no settled law as to whether a        violation of

the Neutrality Act constituted a "crime of violence" for

purposes of § 924(c).        Resp.    8-9.    On the other hand,     Royer

contends that his conviction under Count One was initially legal

because the Neutrality Act fit within the Fourth Circuit's then-

existing method of determining whether an offense constituted a

crime of violence for purposes of § 924(c).             Pet.   15,   17.
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 10 of 18 PageID# 121



        Before pleading guilty,         Royer and his co-defendants moved

to dismiss the § 924 (c) charges that were predicated on the

Neutrality Act on the ground that the Neutrality Act did not

constitute a crime of violence.              The parties'    briefs revealed no

prior case law specifically addressing whether the Neutrality

Act constituted a crime of violence for purposes of § 924(c).

        This Court ruled that the Neutrality Act was a crime of

violence,    and the issue was not raised on appeal by Royer's co-

defendants who were convicted at trial.                 See United States v.


Khan,    309 F.   Supp.    2d 789,    823   (E.D. Va.   2004),   aff'd in part,

remanded in part,         461 F.3d 477      (4th Cir.   2006),   as amended

(Sept. 7,    2006).       Ten years later,       there is still no authority

outside of this Court's original ruling with respect to whether

a violation of the Neutrality Act constitutes a predicate crime

of violence for purposes of § 924(c).                In this respect,    the law

regarding whether violating the Neutrality Act constituted a

crime of violence was unsettled at the time of Royer's

conviction and the first prong of Jones cannot be met.

        Although no case law specifically addressed the Neutrality

Act issue,    Royer argues that the law was "settled" at the time

of his conviction,         thereby making his conviction legal,          because

violation of the Neutrality Act fit comfortably within the scope

of the statutory definition of "crime of violence," as that term

was then interpreted.          Pet.    15-18.     Specifically,    he argues that


                                            10
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 11 of 18 PageID# 122




when he was convicted,         the Fourth Circuit determined whether a

particular offense constituted a crime of violence by looking to

whether "most" of the instances of the offense presented "a

substantial risk that physical force against the person or

property of another may be used in the course of committing the

offense."     18 U.S.C.    § 924(c)(3);       see,    e.g.,   United States v.

Aragon,   983 F.2d 1306,       1315 (4th Cir.        1993)    (finding that the

offense of assisting an escape was a crime of violence4 even

though "one could effectuate the escape of another without the

use of physical force" because "the majority of cases have

involved the use of physical force against either people or

property" (citations omitted)).

     This argument mischaracterizes the state of the law at the

time because other than this Court,             no court had actually ruled

on whether,    under the Fourth Circuit's methodology,                a violation

of the Neutrality Act was a crime of violence.                   The issue was,

therefore,    unsettled.




4 Although the Aragon court was interpreting "crime of violence"
as used in 18    U.S.C.    §   16,   the language of §        924(c)(3)   mirrors
that of § 16, and courts often use case law interpreting § 16 to
guide their analysis of § 924 (c) (3) . See, e.g., United States
v. Serafin, 562 F.3d 1105, 1108 (10th Cir. 2009) ("The Supreme
Court has yet to interpret the crime of violence language in
§ 924(c)(3)(B), but it has interpreted the language in
§ 16(b).").


                                         11
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 12 of 18 PageID# 123




            B. Second Prong

       Even    if   the   law were    "settled"    on this   issue at the time of


Royer's conviction,          Royer clearly cannot satisfy the second

Jones prong,        under which a petitioner must show that "subsequent

to the      [petitioner's] direct appeal and first § 2255 motion,                 the

substantive law changed such that the conduct of which the

[petitioner] was convicted is deemed not to be criminal."                     In re

Jones,      226 F.3d at 334.         This prong requires not only that the

substantive law has changed since the time of Royer's conviction

but also that the change has rendered his conduct non-criminal.

       Relying on two en banc decisions,                Royer contends that the

Fourth Circuit has abandoned the "most cases" method of defining

crimes of violence and instead looks to whether "the full range

of conduct covered by the" statute falls within the definition

of a crime of violence.              Pet.   8 (citing United States v. Torres-

Miguel,      701 F.3d 165,     171    (4th Cir.    2012)).

       First,       he relies on United States v.          Vann,   in which the

Fourth Circuit held that,             under its detailed analysis of the

North Carolina indecent            liberties statute,        violations of this

statute did not constitute a "violent felony" for purposes of

the Armed Career Criminal Act               ("ACCA").     See 660 F.3d 771,   772-

73,   776    (4th Cir.     2011)   (en banc)      (per curiam).    He also relies

on United States v. Aparicio-Soria,                in which the Fourth Circuit

held that,      under its detailed analysis of the Maryland crime of


                                             12
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 13 of 18 PageID# 124



resisting arrest,    that crime did not qualify categorically as a

"crime of violence" within the meaning of U.S.          Sentencing

Guideline § 2L1.2     ("re-entry Guideline").       See 740 F.3d 152,   153

(4th Cir.   2014)   (en banc).

       Neither of these cases helps Royer because they did not

evaluate the Neutrality Act and did not address § 924 (c), which

defines "crime of violence" differently from the definition of

that term in the re-entry Guideline and from the definition of

"violent felony" in the ACCA.

       Under the categorical approach,        courts compare the

statutory definition of the appropriate term,          whether it be

"crime of violence" or a similar term,          "with the elements of the

[offense]   at issue."    See,    e.g., Aparicio-Soria,   740 F.3d at

154.    Section 924(c)(3)(B), which applied to Royer's conviction,

defines "crime of violence" as any felony offense that, "by its

nature, involves a substantial risk that physical force against

the person or property of another may be used in the course of

committing the offense."         18 U.S.C.   § 924(c)(3)(B).   The

Neutrality Act states:

       Whoever, within the United States, knowingly begins or
       sets on foot or provides or prepares a means for or
       furnishes  the  money  for,  or  takes  part  in,  any
       military  or   naval   expedition   or  enterprise  to  be
       carried  on   from   thence   against   the  territory  or
       dominion  of any foreign prince or state, or of any
       colony,  district,    or  people   with  whom the   United
       States is at peace, shall be fined under this title or
       imprisoned not more than three years, or both.


                                      13
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 14 of 18 PageID# 125




18 U.S.C. § 960.     Royer pleaded guilty to a conspiracy, one

object of which was to prepare for and take part in military

expeditions to be carried on from the United States against the

territory and dominion of foreign states, districts, and peoples

with whom the United States was at peace,               in violation of the

Neutrality Act.

     As this Court has previously found,               preparing for and

taking part in a military expedition against a foreign country

is a felony offense that, by its nature, involves a substantial

risk that physical force against the person or property of

another may be used in the course of committing the offense.

See Khan,    309 F. Supp.      2d at 823.     Nothing in Royer's petition

or in the cases he cites provides any basis to change that

conclusion.


     Accordingly,    the second prong is not satisfied because

Royer cannot show that the substantive law has changed such that

the conduct    of which   he    was   convicted   is   now deemed non


criminal .


        C. Third Prong

     The third prong of the Jones test is that the "prisoner

cannot satisfy the gatekeeping provisions of § 2255 because the

new rule is not one of constitutional law."                In re Jones,    226

F.3d at 334.     Here, if there is a new method for determining



                                         14
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 15 of 18 PageID# 126



whether an offense constitutes a crime of violence for purposes

of § 924(c),    it is a matter of statutory interpretation not of

constitutional law.        Because Royer's claim rests on an

interpretation of Fourth Circuit law rather than on a new rule

of constitutional law,       he cannot satisfy the gatekeeping

provisions limiting second or successive § 2255 motions.                 See In

re Jones,    226 F.3d at    329.   Therefore,   had there been a change

in the law as to whether a violation of the Neutrality Act

constitutes a crime of violence,        the third prong of the Jones

test    would be satisfied.


        As discussed above,    because Royer's claim does not satisfy

the first and second prongs of the Jones test,               he cannot rely on

the savings clause of § 2255 and his § 2241 petition is,

therefore,    not cognizable.      For these reasons,        Royer's petition

will be dismissed for lack of jurisdiction.

          D. Actual   Innocence


        Even if Royer could satisfy all three prongs of the Jones

test,    thereby entitling him to proceed by way of a § 2241

petition,    his petition would fail because he cannot establish

his actual innocence of the other counts in the superseding

indictment that were dropped in consideration of his guilty

pleas.     As this Court has previously found,         the "general

limitation on habeas relief applies with          'special force'       to

^convictions based on guilty pleas.'"           Mem.   Op.   of Feb.   15,


                                      15
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 16 of 18 PageID# 127



2012,   at 18 (quoting Bousley,     523 U.S. at 621);     see also

Bousley,    523 U.S. at 621    (indicating that "the circumstances

under which a guilty plea may be attacked on collateral review"

are "strictly limited").

        Because Royer's petition is based on a claim of actual

innocence of an offense to which he pleaded guilty,            he "must

demonstrate that,    in light of all the evidence,         it is more

likely than not that no reasonable juror would have convicted

him."     Id^ at 623 (quoting Schlup v. Delo,         513 U.S. 298, 327-28

(1995))    (internal quotation marks omitted).         Moreover,   "where

the Government has forgone more serious charges in the course of

plea bargaining,    petitioner's showing of actual innocence must

also extend to those charges."        Id. at 624;      see also Lewis v.

Peterson,    329 F.3d 934,    936 (7th Cir.   2003)    (explaining that the

rationale behind the Bousley rule is that "the government would

not have dropped a good count in plea negotiations had it known

that the remaining count was invalid,         and if the dropped charge

was indeed a good count,       the defendant would not have escaped

punishment had it not been dropped");         Brewington v. United

States,    4:08-CR-77-FL-1,    2012 WL 5463141,   at *3    (E.D.N.C.    Nov.

8, 2012)    ("Under the rule stated in Bousley,         petitioner must

establish actual innocence for any        'more serious charges'

forgone by the government during plea bargaining.").




                                     16
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 17 of 18 PageID# 128



      Here,    14 counts in the superseding indictment were

dismissed in     favor of the two-count criminal                information to


which Royer pleaded guilty.               Mem. Op. of Feb. 15, 2012, at 22.

As Royer has previously acknowledged in his motion to vacate

under § 2255,        at least two of the 14 counts were "indisputably

more serious than those in the information."3                    Id.   at 23.    These

two counts consisted of weapons charges under 18 U.S.C.                        § 924(c)

that alleged that Royer had aided and abetted Khan,                      one of his

co-conspirators,        in the use and discharge of a machine gun and a

rocket-propelled grenade in furtherance of a crime of violence.

Id.   In dismissing Royer's motion to vacate under § 2255,                       this

Court found that "there is no reasonable likelihood that Royer

would have been acquitted of any count in the superseding

indictment."         Id. at 24.        That finding is the law of this case,

and Royer offers no reasons to change that finding.                       Royer does

not argue that the substantive law underlying any of the

dismissed counts has changed such that the Court should find him

actually innocent of those offenses that were "more serious"


  In its opposition to Royer's motion to vacate under § 2255, the
government argued that two additional counts in the superseding
indictment—possession of an AK-47 in violation of § 924 (c) and
use and discharge of an AK-47—were "more serious" than the
counts to which Royer pleaded because they would have carried a
mandatory minimum sentence of 25 years under § 924(c)(1)(C)(i),
which is five years more than the total sentence Royer actually
received.  Mem. Op. of Feb. 15, 2012, at 23-24.  Further, the
government argued that six other counts out of the 14 that were
dismissed     were    "more    serious"    than   the   two   offenses   to   which
Royer pleaded.         Id.    at 24.

                                            17
 Case 1:03-cr-00296-LMB Document 770 Filed 11/04/14 Page 18 of 18 PageID# 129



than the two counts to which he pleaded guilty.            Indeed,     Royer

did not respond at all to the government's actual innocence

argument.

     Because Royer cannot show that he is actually innocent of

the more serious charges that were dismissed in favor of his

guilty pleas,   his habeas petition would be dismissed,           even if

there were jurisdiction to consider it.

                           IV.   CONCLUSION


     For the reasons stated above,      Royer's § 2241 petition will

be dismissed for lack of jurisdiction by an appropriate Order to

be issued with this Memorandum Opinion.

     Entered this _j_    day of November, 2014.
Alexandria,   Virginia




                                               Leonie M. Brinkema
                                               United States District Judge
